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 5   esmith@brodskysmith.com
 6   Attorneys for Plaintiff
 7
                                 UNITED STATES DISTRICT COURT
 8
                                SOUTHERN DISTRICT OF NEW YORK
 9

10   SEAN DUGAN, on behalf of himself and      Case No.: 1:19-cv-08550-ER
     all others similarly situated,
11
                                               NOTICE OF VOLUNTARY DISMISSAL
                               Plaintiff,      PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
12
                     vs.
13
     CASTLE BRANDS, INC., MARK E.
14   ANDREWS, JOHN F. BEAUDETTER,
     HENRY C. BEINSTEIN, DR. PHILLIP
15   FROST, DR. RICHARD M. KRASNO,
     RICHARD J. LAMPEN, STEVEN D.
16   RUBIN and MARK ZEITCHICK,
17
                               Defendants.
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          NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
                Case 1:19-cv-08550-ER Document 7 Filed 04/07/20 Page 2 of 2



 1          Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 2 Procedure, plaintiff Sean Dugan (“Plaintiff”) voluntarily dismisses this action with prejudice as to

 3 the Plaintiff’s individual claims and without prejudice as to the claims of the putative class. This

 4 notice of dismissal is being filed before service by Defendants of either an answer or a motion for

 5 summary judgment. Since no class has been certified and the dismissal is without prejudice as to

 6 the members of the putative class, notice of this dismissal is not required. Plaintiff’s dismissal of

 7 this Action is effective upon filing of this notice.

 8

 9 Dated: April 7, 2020                            BRODSKY & SMITH, LLC

10                                                 /s/ Evan J. Smith_____________
                                                   Evan J. Smith
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16                                                 Attorneys for Plaintiff

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           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
